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                   EXHIBIT A
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                   AMERICAN ARBITRATION ASSOCIATION AND
                INTERNATIONAL CENTRE FOR DISPUTE RESOLUTION

                           COMMERCIAL ARBITRATION RULES


 Case Number: 01-21-0016-2306

 Bosch Automotive Service Solutions Inc.           Order on Software Audit

 -vs-                                              Arbitrator: Thomas W. Cranmer

 Collision Sciences Inc.



        The Parties to this Arbitration, Bosch Automotive Service Solutions, Inc. ("Bosch") and

 Collision Sciences, Inc. ("Collision Sciences"), have negotiated in good faith the terms to govern

 the implementation of a software audit pursuant to the End User License Agreement ("EULA")

 for the Bosch Crash Data Retrieval Tool Software (the "Bosch CDR Tool Software") dated May

 30, 2019. Having failed to fully agree on such terms, Claimant Bosch has requested the entry of

 this Order by the Arbitrator. Accordingly, having heard from the Parties and considered the

 issues, the Arbitrator hereby ORDERS a Software Audit to be conducted as follows:

 Retention of Software Expert

        1.      Bosch has the exclusive right to select a third-party expert ("Software Expert") to

 conduct the Software Audit. Bosch shall bear the costs of the Software Expert, subject to the

 requirement in §10.1 of the EULA that Collision Sciences reimburse Bosch for such costs if the

 Software Audit uncovers unauthorized use, reproduction, distribution, or other exploitation of the

 Bosch CDR Tool Software.

        2.      Bosch will promptly inform Collision Sciences of the selection of the Software

 Expert. Collision Sciences may object to the Software Expert only on the basis that such

 Software Expert: 1) is or employs any current or former employee of either party; 2) is a direct
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 competitor of Collision Sciences; 3) has a business relationship with Bosch other than dispute

 related services; or 4) has a prior major relationship with Collision Sciences. Any dispute over an

 objection to the Software Expert shall be promptly resolved by the Arbitrator.

            3.     Bosch will not be prohibited from using the Software Expert, nor will the

 Software Expert be prohibited from relying upon any information obtained during the Software

 Audit, for any purposes in any further proceedings within this Arbitration.

            4.     If Bosch intends to rely upon any conclusions and/or analysis produced by the

 Software Expert during this Arbitration, then such conclusions and/or analysis, as well as a list of

 all material relied upon, will be produced to Collision Sciences no more than forty-five (45) days

 af-ter the Audit is completed.

            5.     Collision Sciences shall take all reasonable measures necessary to allow the

 Software Expert to complete the Software Audit as expeditiously as possible. In no event shall

 this paragraph be read as extending the deadlines set forth below, absent agreement of the

 parties.

 Inventory & Access

            6.     Within five (5) business days of this Order, Collision Sciences shall provide

 Bosch the foliowing:

                    (a)    A listing of all personal computers ("PCs") and electronic devices used by
            Collision Sciences, and/or its employees, contractors, vendors, etc., that was used, or
            could have been used, to store, run, or access the Bosch CDR Tool Software (including
            any corresponding Bosch databases);

                    (b)    Information related to any and all cloud storage utilized by Collision
            Sciences, including the name of the vendor and the approximate amount of data stored
            therein; and

                   (c)     Information related to Collision Sciences' software code for its CrashScan
            application, and related components, including the programming language(s), the
            approximate size in bytes and the approximate number of lines of code.



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         7.      Within seven (7) business days of this Order, Collision Sciences shall provide to

 the Software Expert read-only credentials to Collision Sciences' software code repository (e.g.,

 Bitbucket) and to Collision Sciences' cloud storage resources. The credentials shall remain valid

 for the duration of the audit.

         8.      Within fourteen (14) business days of this Order, Collision Sciences shall provide

 the Software Expert with explanations, including supporting documentation (if any), sufficient in

 the Software Expert's opinion to understand how the CrashScan application identifies and selects

 the applicable data to retrieve for all supported vehicles, how it pulls the EDR data (including

 how it overcomes OEM security locks), how it interprets the data and how it translates the data

 into reports.

 Searching and Analysis

         9.      Within fourteen (14) business days of this Order, or such other time as required

 by the Software Expert, Collision Sciences shall arrange for the Software Expert to have remote

 access to each of the devices identified in §6(a) above and shall either install, or allow for the

 installation of, one or more commercial search software tools, as directed by the Software

 Expert. Subject to the provisions of §11 below, the Software Expert shall be allowed to search

 each device, using the installed software tools. Collision Sciences may observe and/or record the

 activities of the Software Expert while remotely accessing a device, or request that the Software

 Expert record its activities. The Software Expert shall permanently delete any installed software

 tools at the conclusion of the Audit.

         10.     Subject to the provisions of §11 below, the Software Expert shall be permitted to

 search the Collision Sciences' software code repository (e.g., Bitbucket) and cloud storage

 resources using the read-only credentials provided above. The Software Expert shall keep a log

 of the dates and times of such access, and shall capture all activities performed while using such


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 credentials via screen-capture software or other similar means, which information shall be

 provided to Collision Sciences at the conclusion of the Audit.

        11.     Prior to conducting any search on the devices, within the software code

 repository, or in the cloud storage resources, Bosch or the Software Expert shall provide to

 Collision Sciences an initial list of keyword search terms to be used for such search. The

 Software Expert shall not be prohibited from utilizing additional keyword search terms or search

 methodologies, provided that any additional search terms or methodologies shall be disclosed to

 Collision Sciences within seven (7) business days of the conclusion of the Audit. In no event

 shall the Software Expert conduct any activities which are not specifically described in this

 Order without the prior written consent of Collision Sciences.

        12.     No employee of Bosch (including in-house counsel) shall be permitted to access

 or view the Software Expert's direct searching of Collision Sciences' resources, nor any

 recording (via screen capture or otherwise) of the Software Expert's activities.

        13.     Bosch shall promptly notify Collision Sciences of the conclusion of the audit.

        14.     Except for any recording (via screen capture or otherwise) of the Software

 Expert's activities, neither Bosch nor the Software Expert shall be under any obligation to

 disclose to Collision Sciences the results of the Software Audit, or the analysis or opinions of the

 Software Expert, unless such results, analysis or opinions will be relied on by Bosch in this

 arbitration proceeding, or as a basis to require reimbursement of the audit costs. A copy of any

 recording of the Software Expert's activities identified in Paragraphs 9 and 10 shall be provided

 to Collision Sciences at the conclusion of the Audit.

 Confidentiality

        15.     All information shared by either Party shall be deemed "Confidential," and will

 not be able to be used outside of this Arbitration;


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          16.       Either Party may designate material provided by it to the other party as Attorneys'

 Eyes Only (which, for these purposes, shall also be accessible to the Software Expert);

          17.       All materials coilected, including any screen capture recordings mentioned above,

 shall be destroyed at the conclusion of this Arbitration proceeding.

 Enforcement

          18.       All disputes regarding the Software Audit shall be exclusively resolved by the

 Arbitrator.

          19.       Nothing in this Order shall prevent Collision Sciences from objecting to any

 proposed keyword search terms or search methodologies or raising any issues relating to the

 Audit with the Arbitrator.




 Dated: April 20, 2022
                                                            omas W. Cranmer, Arbitrator




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